                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In the Matter of                                )
                                                )
WILLIAM BARRIER ROBERTS,                        )          Case No. 18-83442-CRJ11
                                                )
       Debtor.                                  )          Chapter 11
                                                )
                                                )
TAZEWELL T. SHEPARD,                            )
As Trustee for the Chapter 7 Bankruptcy         )
Estate of William Barrier Roberts               )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )          AP No. 21-80040-CRJ
                                                )
ROSCOE OWEN ROBERTS,                            )
in his capacity                                 )
        Defendant.                              )
                                                )
                                                )

                   MOTION FOR EXTENSION OF TIME TO FILE ANSWER
                        AND MOTION TO STAY PROCEEDINGS

       COMES NOW Stuart M. Maples as counsel for William Barrier Roberts (“Debtor”), and

moves this Honorable Court for 1) a ninety (90) day extension of time within which to file his

answer to Trustee’s Complaint for Denial of the Debtor’s Chapter 7 Discharge [Doc 1], and 2)

Motion to Stay Proceedings, and as grounds therefore states as follows:

       1.      The Trustee filed his Complaint for Denial of the Debtor’s Chapter 7 Discharge on

March 21, 2021. Additional time is required to assess the allegations contained in the Complaint.

       2.      The largest creditor in this case, First National Bank of Pulaski, has unsecured

guaranty claims totaling $5,580,202.79.




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       3.      This debt is secured to be paid in full by a refinance of the guaranteed debt by the

principal on this debt.

       4.      It has been estimated that this transaction should close, if at all, in the next ninety

(90) days.

       5.      In the event this refinance occurs and this claim is satisfied, the Trustee currently

has sufficient funds on hand to pay off remaining claims.

       WHEREFORE, premises considered, counsel for the Debtor prays that this Honorable

Court allow an additional ninety (90) days, until July 12, 2021, within which to answer the

Trustee’s Complaint, and for such other and further relief as this Court deems just and proper.

       Respectfully submitted on April 9, 2021.

                                                              /s/ Stuart M. Maples
                                                              STUART M. MAPLES
                                                              (ASB-1974-S69S)

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                                 CERTIFICATE OF SERVICE

         I do hereby certify that on April 9, 2021, the foregoing document was electronically filed
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to all counsel of record, and on the following:

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                                                            /s/ Stuart M. Maples
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